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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )   8:07CR287
                                            )
                      vs.                   )   ORDER FOR DISMISSAL
                                            )
KHA MANH NGUYEN,                            )
BICH NGUYEN,                                )
LIEN NGUYEN,                                )
  a/k/a Lynn Wynn,                          )
                                            )
                      Defendants.           )



       NOW ON THIS 25th day of July, 2008, this matter comes on before the Court upon the

United States’ Motion for Dismissal (Filing No. 100). The Court, being duly advised in the

premises, finds said Motion should be sustained.

       IT IS HEREBY ORDERED:

       1.    Leave of Court is granted for the United States to dismiss, without prejudice, the

Superceding Indictment filed herein.

       2.   The Superceding Indictment filed herein is hereby dismissed, without prejudice.



                                            BY THE COURT:



                                            s/ Joseph F. Bataillon
                                            JOSEPH F. BATAILLON
                                            Chief, United States District Court Judge
